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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF OKLAHOMA

DANIEL HANCHETT, as Personal        )
Representative of the Estate of Shannon
                                    )
Hanchett, Deceased,                 )
                                    )
               Plaintiff,           )
                                    )
v.                                  )                    Case No. CIV-24-87-J
                                    )
SHERIFF OF CLEVELAND COUNTY, in his )
Official Capacity, et al.,          )
                                    )
               Defendants.          )

                                            ORDER

       Before the Court is Defendant Natasha Kariuki, LPN’s (LPN Kariuki) Motion to Dismiss

[Doc. No. 12]. Plaintiff has filed his response, and LPN Kariuki has filed a reply.

I.     Background 1

       In 2022, Shannon Hanchett (Ms. Hanchett) began to exhibit signs of mental illness

consistent with bipolar disorder and/or schizophrenia. On the evening of November 26, 2022,

while in an AT&T store, Ms. Hanchett, who was exhibiting signs of a mental health episode, called

911, and a Norman police officer responded to the scene. The officer ultimately arrested Ms.

Hanchett for misdemeanor obstruction and transported her to the Cleveland County Jail (Jail).

       Upon Ms. Hanchett’s arrival at the Jail, Nurse Danille Hay, LPN, began the medical intake

process but was unable to complete it due to Ms. Hanchett’s mental state. 2 Ms. Hanchett was then

placed in a general population cell.




1
  The facts contained in this Background are based on the facts contained in the Complaint [Doc.
No. 1].
2
  Nurse Hay was able to take Ms. Hanchett’s vital signs; both her blood pressure and pulse were
elevated.
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       Plaintiff alleges that based upon the medical records, it appears that no employee/agent of

Defendant Turn Key Health Clinics, LLC (Turn Key) assessed, evaluated, or treated Ms. Hanchett

from the time she was booked until the evening of November 30. On that day, Defendant Diana

Myles-Henderson (Myles-Henderson), a licensed professional counselor (LPC), found Ms.

Hanchett lying on the floor of her cell completely naked and incoherent. Ms. Hanchett was placed

on suicide watch, 3 but Plaintiff alleges that the jail staff repeatedly failed to conduct the 15-minute

checks required for those inmates on suicide watch.

       Plaintiff further alleges that between November 30 and December 2, Ms. Hanchett was not

evaluated or treated by a physician, RN, LPN, NP, PA, or LPC Miles-Henderson and was left

alone in her cell, laying naked, in a state of catatonia. On December 1, 2022 at 10:40 a.m., LPN

Kariuki charted that she observed Ms. Hanchett lying “on the floor talking to herself,” but she did

not complete the medical intake for Ms. Hanchett, take her vital signs, provide an assessment or

treatment, nor call a physician or higher level provider. On December 1, 2022 at 7:05 p.m., Nurse

Hay noted that she observed Ms. Hanchett pacing in her cell and talking to herself but did not

complete a medical intake for Ms. Hanchett, take her vital signs, provide any assessment or

treatment, nor call a physician or higher level provider. On December 2, 2022 at 6:00 p.m., Turn

Key Nurse Tara Doto, LPN noted that she observed Ms. Hanchett “yelling at window.” Nurse

Doto also took no additional steps to assess or treat Ms. Hanchett or refer her to a higher level

medical or mental health provider.

       On December 4, 2022, at around 11:00 a.m., LPC Myles-Henderson saw Ms. Hanchett

again and observed that she was in essentially the same position and mental health condition that




3
 At the time she was placed on suicide watch, Ms. Hanchett had not completed a medical intake
and had not been assessed, evaluated, or treated by a physician, PA, RN, LPN, or NP.
                                                   2
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she had been on November 30. LPC Myles-Henderson charted that her plan was to refer Ms.

Hanchett to both “security” and to “medical staff for medication evaluation.” Nurse Doto observed

Ms. Hanchett on December 4, 2022, at 8:05 p.m., laying on the floor and talking to herself, but

Nurse Doto did not assess or treat Ms. Hanchett or refer her to a higher level medical or mental

health provider. On December 5, 2022, LPC Myles-Henderson saw Ms. Hanchett again and noted

that she was avoidant, psychotic, and indifferent; was not responsive; and was lying nude on the

floor.

         On December 6, 2022, at approximately 11:30 a.m., Ms. Hanchett was seen by Turn Key

psychiatrist Jawaun Lewis, MD. Dr. Lewis determined that Ms. Hanchett should be left at the Jail.

Later that night, LPN Kariuki took Ms. Hanchett to a holding cell to attempt to complete a medical

intake but was unable to complete the intake and noted that Ms. Hanchett should stay housed in

processing until she has been cooperative during the intake process. Ms. Hanchett was ultimately

placed back in a suicide watch cell.

         On December 7, 2022, at approximately 9:30 a.m., LPN Kariuki was called to perform a

welfare check on Ms. Hanchett. LPN Kariuki took Ms. Hanchett’s vitals. Her blood pressure was

very low, and she had not been eating or drinking for several days. LPN Kariuki noted that per

Turn Key Nurse Practitioner Becky Pata, Ms. Hanchett was to be given Gatorade for five days and

would need to be monitored drinking water. At approximately 12:09 p.m., Turn Key Nurse

Amanda Smith charted that Ms. Hanchett was cleared to move to medical housing and to have

clothes. A little after 4:30 p.m., LPC Myles-Henderson saw Ms. Hanchett again and noted that

Ms. Hanchett had not been eating or taking medication, lacked appropriate hygiene, had auditory

and visual hallucinations, and had poor insight.




                                                   3
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        Shortly after midnight on December 8, 2022, Nurse Doto discovered Ms. Hanchett sitting

up against the toilet and not responding to her name. Nurse Doto called 911 and attempted CPR.

Ms. Hanchett, however, had no pulse and was not breathing. Resuscitation efforts were not

successful, and shortly thereafter, she was declared deceased. The Medical Examiner’s office

determined that Ms. Hanchett died of heart failure. Other significant conditions contributing to

her death were psychosis with auditory and visual hallucinations and severe dehydration.

        On January 25, 2024, Plaintiff filed this case, alleging various 42 U.S.C. § 1983 claims

against Defendants and a negligence claim against Defendant Turn Key. 4 In relation to LPN

Kariuki, Plaintiff asserts a § 1983 claim for failure to provide adequate medical care. LPN Kariuki

now moves to dismiss this claim, pursuant to Federal Rule of Civil Procedure 12(b)(6), for failure

to state a claim.

II.     Standard for Dismissal under Rule 12(b)(6)

        When considering a motion to dismiss under Rule 12(b)(6), the Court accepts all well-

pleaded factual allegations as true and views them in the light most favorable to the non-moving

party. See S.E.C. v. Shields, 744 F.3d 633, 640 (10th Cir. 2014). To avoid dismissal, the complaint

must allege “enough facts to state a claim to relief that is plausible on its face” and “raise a right

to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).

Additionally, “[a] pleading that offers labels and conclusions or a formulaic recitation of the

elements of a cause of action will not do. Nor does a complaint suffice if it tenders naked

assertion[s] devoid of further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(internal quotations and citations omitted). A court “must determine whether the complaint



4
   In her motion to dismiss, LPN Kariuki moves to dismiss any state law claim of
negligence/wrongful death, to the extent such a claim is being made. In his response, Plaintiff
states that he is not asserting a negligence claim against LPN Kariuki.
                                                  4
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sufficiently alleges facts supporting all the elements necessary to establish an entitlement to relief

under the legal theory proposed.” Lane v. Simon, 495 F.3d 1182, 1186 (10th Cir. 2007) (internal

quotations and citation omitted).

III.   Analysis

       Plaintiff asserts a § 1983 deliberate indifference to serious medical needs claim against

LPN Kariuki based upon her failure to provide adequate medical care. Deliberate indifference to

serious medical needs claims contain both objective and subjective components. See Estate of

Beauford v. Mesa Cnty., Colo., 35 F.4th 1248, 1262 (10th Cir. 2022). The objective prong of this

claim has been met due to Ms. Hanchett’s death. The subjective prong requires a showing of

deliberate indifference to Ms. Hanchett’s serious medical needs. Id. Deliberate indifference

means the individual “knows of and disregards an excessive risk to inmate health or safety” and

“must both be aware of facts from which the inference could be drawn that a substantial risk of

serious harm exists, and he must also draw the inference.” Id. at 1262-63. A negligent failure to

provide adequate medical care is not enough to show deliberate indifference. See Estelle v.

Gamble, 429 U.S. 97, 105-6 (1976); Perkins v. Kan. Dep’t of Corrections, 165 F.3d 803, 811 (10th

Cir. 1999).

       Having carefully reviewed Plaintiff’s Complaint, and accepting the facts alleged in the

Complaint as true, and viewing those facts in the light most favorable to Plaintiff, the Court

concludes that Plaintiff has not alleged sufficient facts showing that LPN Kariuki was deliberately

indifferent to Ms. Hanchett’s serious medical needs. At most, the Complaint alleges a negligent

failure to provide adequate medical care. Accordingly, Plaintiff’s § 1983 deliberate indifference

claim against LPN Kariuki should be dismissed.




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IV.    Conclusion

       For the reasons stated above, the Court GRANTS LPN Kariuki’s Motion to Dismiss [Doc.

No. 12].

       IT IS SO ORDERED this 19th day of August, 2024.




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